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        Exhibit	  A-­‐	  Ven-­‐A-­‐Care's	  Supplemental	  Exhibit	  List




Trial     Date of                                                                                                       Depo.         Beginning    Intent to
Exhibit # Document                   Title or Brief Description                                                         Exhibit No.   Bates Number offer       Objection
                                     letter to Pete Stark (Congress) from Donna Shalala (HHS) responding to Stark’s
                                     letter regarding drug company pricing in the Medicare Program related to brand and               VAC MDL
00898        11/20/95                generic product pricing.                                                                         64628           Expect


                                     fax to Ven-A-Care from Bill Vaughn (assistant to Pete Stark of Congress) attaching
                                     12/15/97 letter to June Gibbs Brown (OIG) from Pete Stark (Congress). The fax                    VAC MDL
00899        12/15/97                asks Ven-A-Care if the letter to June Gibbs Brown is accurate and okay to send.                  64445 - 64447 Expect
                                     letter to June Gibbs Brown (OIG) from Pete Stark (Congress) passing on example of
                                     why Medicare should not rely on published AWP. This copy was faxed to Ven-A-                     VAC MDL
00900        12/15/97                Care from Bill Vaughn (assistant to Pete Stark of Congress) on 12/16/97.                         64444           Expect
                                     fax to Bill Vaughn (Congress) from Zach Bentley (Ven-A-Care) attaching a draft
                                     letter to Nancy Ann Min DeParle (HCFA) from Pete Stark (Congress) re: HCFA’s                     VAC MDL
00901        06/01/98                Proposed Methodology Revision for Payment of Drugs and Biologicals .                             64343 - 64346 Expect
                                     fax Bill Vaughn (Congress) from Zach Bentley (Ven-A-Care) attaching a draft letter
                                     to Nancy Ann Min DeParle (HCFA) for Pete Stark’s signature re: First Data Bank’s                 VAC MDL
00902        04/20/99                agreed reporting of more accurate prices in calculating reimbursement amounts.                   64261 - 64264 Expect
                                     letter to Nancy Ann Min DeParle (HCFA) from Pete Stark (Congress) re: making                     VAC MDL
00903        04/06/00                sure Medicare does not pay more for out-patient drugs than Medicaid.                             64194         Expect
                                     04/06/00 letter to Chris Jennings (White House Domestic Counsel) from Pete Stark
                                     (Congress) attaching 04/06/00 letter to Nancy Ann Min DeParle from Pete Stark re:                VAC MDL
00904        04/06/00                making sure Medicare does not pay more for out-patient drugs than Medicaid                       64192 -64193    Expect
                                     letter to Ruedi Waeger (Aventis) from Tom Bliley (Congress) regarding pricing                    VAC MDL
00905        05/04/00                practices.                                                                                       70935 - 70938   Expect
                                     letter to Jansen Kraemer (Baxter) from Tom Bliley (Congress) regarding artificially              VAC MDL
00906        05/04/00                inflated reimbursement rates.                                                                    70939 - 70943   Expect
                                                                                                                                      VAC MDL
00907        05/04/00                letter to Charles Rice (Dey) from Tom Bliley (Congress) regarding pricing practices.             70944 - 70947   Expect



                                     letter to George Morrow (Glaxo) from Tom Bliley (Congress) regarding artificially                VAC MDL
00908        05/04/00                inflated reimbursement rates.                                                                    70948 - 70952 Expect
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        Exhibit	  A-­‐	  Ven-­‐A-­‐Care's	  Supplemental	  Exhibit	  List




Trial     Date of                                                                                                           Depo.         Beginning    Intent to
Exhibit # Document                   Title or Brief Description                                                             Exhibit No.   Bates Number offer       Objection
                                     letter to Jan Leschly (SmithKline) from Tom Bliley (Congress) regarding artificially                 VAC MDL
00909        05/04/00                inflated reimbursement rates.                                                                        70953 - 70956 Expect
                                     letter to Thomas Watkins (Tap) from Tom Bliley (Congress) regarding pricing                          VAC MDL
00910        05/04/00                practices.                                                                                           70957 - 70959 Expect

                                     letter to Donna Shalala (HHS) from Tom Bliley (Congress) regarding excessive                         VAC MDL
00911        05/05/00                reimbursement rates that the Medicare program is paying.                                             70933 - 70934 Expect
                                     letter to Alan F. Holmer (PhRMA) from Pete Stark (Congress) re: certain PhRMA
                                     members are employing false and fraudulent marketing schemes and other deceptive                     VAC MDL
00912        09/28/00                business practices.                                                                                  64099 -64108   Expect
                                     letter to Ray Gilmartin (Merck & Co) from Pete Stark (Congress) re: Congressional
                                     investigations have revealed that certain drug companies are employing false                         VAC MDL
00913        10/10/00                marketing schemes and other deceptive business practices.                                            64842          Expect
                                     letter to Miles White (Abbott) from Pete Stark (Congress) regarding Congressional
                                     investigation revealing that Abbott has reported and published inflated and                          VAC MDL
00914        10/31/00                misleading drug price data.                                                                          64847 - 64854 Expect
                                     letter to Pete Stark (Congress) from Raymond V. Gilmartin (Merck & Co.)
                                     responding to Stark’s 10/10/00 letter regarding drug company pricing practices and                   VAC MDL
00915        11/01/00                industry standards.                                                                                  64844 - 64845 Expect
